elof7 Page ID #:746

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Source Info:
EXTRACTION_FFS zip/root/private/var/mobile/Library/SMS/sms.db : 0x1940D7C (Table: message, handle; Size: 52322304 bytes)

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Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/ i ile/Library/SMS/sms.db : 0x1940AFB (Table: message, handle; Size: 52322304 bytes)

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Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zip/root/private/var/mobile/Library/SMS/sms.db : 0x1B1535D (Table:
message, handle; Size: 52322304 bytes)

133
Filed 04/02/24 Page 2of7 Page ID #:747

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message, handle; Size: 52322304 bytes)

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Source Extraction:
File System (2)
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EXTRACTION. | FFS.zi ile/Library/SMS/sms.db : 0x1B16B54 (Table:
message, handle; Size: 52322304 bytes)

134
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Source Extraction:

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message, handle; Size: 52322304 bytes)

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Source Extraction:

File System (2)

Source Info:

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Source Extraction:
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EXTRACTION_FFS zipi bile/Library/SMS/sms.db : 0x1B209D7 (Table: message,

handle; Size: 52322304 yen)

135
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Source Info:
EXTRACTION_FFS zip/root/private/var/mobile/Library/SMS/sms.db : 0x1E364A7 (Table:
message, handle; Size: 52322304 bytes)

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Source Extraction:
File System (2)

Source Info:
EXTRACTION_FFS.zip i ile/Library/SMS/sms.db : 0x1E37FC8 (Table: message, handle; Size: 52322304 bytes)

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File System (2)

Source Info:

EXTRACTION_FFS.zip/root/pri r/mobile/Library/SMS/sms.db : 0x1E379FA (Table:

message, handle; Size: 52322304 bytes)

146
Case 8:23-cr-00100-CJC Dog

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File System (2)

Source Info:

EXTRACTION_FFS.zip i jile/Library/SMS/sms.db : 0x1E37827 (Table: message, handle; Size: 52322304
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File System (2)

Source Info:

EXTRACTION_FFS zip/ i imobile/Library/SMS/sms.db : 0x1E375C2 (Table: message, handle;
Size: 52322304 bytes)

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File System (2)

Source Info:

EXTRACTION_FFS zip/root/pri ibrary/SMS/sms.db : 0x1F24DD0 (Table: message,
handle; Size: 52322304 bytes)

147
Case 8:23-cr-00100-CJC Document 97-4

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File System (2)
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EXTRACTION_F! jile/Library/SMS/sms.db : 0x1F24BA5 (Table:

message, hongice rae 52322304 bytes)

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Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS.zipirc i bile/Library/SMS/sms.db : 0x1F24765 (Table:
message, handle; Size: 52322304 bytes)

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Source Extraction:

File System (2)

Source Info:

EXTRACTION_FFS .zip/root/ bile/Library/SMS/sms.db : 0x1F30D8C (Table: message,
handle; Size: 52322304 bytes)

148
Case 8:23-cr-00100-CJC Document 97-4

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File System (2)
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EXTRACTION_FFS.zip/root/private\ jile/Library/SMS/sms.db : 0x1F30B69 (Table:

message, handle; Size: 52322304 bytes)

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handle; Size: 33309308 wen

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EXTRACTION_FFS zip/ pri ile/Library/SMS/sms.db : 0x1F 30739 (Table: message, handle; Size:
52322304 bytes)

149
